            Case 22-60043 Document 861-2 Filed in TXSB on 03/10/24 Page 1 of 7




EXHIBIT 2
Case 22-60043 Document 861-2 Filed in TXSB on 03/10/24 Page 2 of 7
Case 22-60043 Document 861-2 Filed in TXSB on 03/10/24 Page 3 of 7
Case 22-60043 Document 861-2 Filed in TXSB on 03/10/24 Page 4 of 7
Case 22-60043 Document 861-2 Filed in TXSB on 03/10/24 Page 5 of 7
Case 22-60043 Document 861-2 Filed in TXSB on 03/10/24 Page 6 of 7
Case 22-60043 Document 861-2 Filed in TXSB on 03/10/24 Page 7 of 7
